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                    Chapter 7 Trustee for the bankruptcy estate
                  7 of MJD Legacy Investments, Inc.
                  8
                  9                       UNITED STATES DISTRICT COURT
             10                         CENTRAL DISTRICT OF CALIFORNIA
             11                                  SOUTHERN DIVISION
             12 ROBERT THOMAS, AS CHAPTER 7                       Case No.
                TRUSTEE FOR THE ESTATE OF                         COMPLAINT TO AVOID AND
             13
                MJD LEGACY INVESTMENTS,                           RECOVER FRAUDULENT
             14 INC.,                                             TRANSFERS, FOR UNJUST
                                                                  ENRICHMENT, CONSTRUCTIVE
             15                  Plaintiff,                       TRUST AND EQUITABLE LIEN
             16            vs.
             17 NEWPORT BEACH AUTOMOTIVE
             18 GROUP, LLC d/b/a LAMBORGHINI
                NEWPORT BEACH,
             19
                         Defendant.
             20
             21
             22            Plaintiff, Robert Thomas, the Chapter 7 Trustee (“Trustee”) for the bankruptcy
             23 estate of MJD Legacy Investments, Inc. (“Debtor”), by and through his undersigned
             24 counsel, sues Newport Beach Automotive Group, LLC d/b/a Lamborghini Newport
             25 Beach, a California limited liability company (“Newport Lamborghini” or
             26 “Defendant”), and states as follows:
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             28

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                  1                                        PARTIES
                  2        1.     The Trustee is the duly appointed, authorized, and acting Chapter 7
                  3 Trustee of the Debtor’s estate and brings this action solely in his capacity as trustee.
                  4        2.     Upon information and belief, Newport Lamborghini is a California
                  5 entity in the business of selling Lamborghinis, a luxury vehicle brand.
                  6
                  7                             JURISDICTION AND VENUE
                  8        3.     The Court has jurisdiction under 28 U.S.C. §1332 because there is
                  9 diversity of citizenship of the parties and the amount in controversy exceeds $75,000.
             10            4.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because: (1)
             11 Newport Lamborghini resides in this District; and (2) most, if not all, of the events
             12 giving rise to the claims for relief alleged herein occurred in this District.
             13
             14                               PROCEDURAL BACKGROUND
             15            5.     On March 17, 2021 (“Petition Date”), the Debtor commenced this case
             16 by the filing of a voluntary chapter 7 petition under 11 U.S.C. (the “Bankruptcy
             17 Code”) § 701 et seq., in the United States Bankruptcy Court for the Middle District
             18 of Florida, Orlando Division (the “Bankruptcy Court”), initiating bankruptcy case no.
             19 6:21-bk-01125-GER.
             20            6.     On March 18, 2021, the Trustee was appointed as the duly authorized
             21 and acting Chapter 7 Trustee of the Debtor’s bankruptcy estate.
             22
             23                                  GENERAL ALLEGATIONS
             24                       The Debtor’s Prepetition Claims Against Bluebell
             25            7.     Bluebell International, LLC (“Bluebell”) is a Wyoming limited liability
             26 company owned by Rick Lee a/k/a Seung Mok Ok a/k/a Edward Seung Ok (“Lee”).
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                  1        8.     Upon information and belief, and at all material times, Lee was either an
                  2 inmate at Correctional Institution Big Spring (Flightline) in Big Spring, Texas, or
                  3 otherwise resided in California with his wife Soran Lim (“Lim”).
                  4        9.     Bluebell’s alleged business model was to charge high loan commitment
                  5 fees, due diligence fees, and/or “commitment earnest/good faith deposits” (the
                  6 “Fees”) in order for Bluebell to evaluate a potential loan transaction and thereafter
                  7 fund it. In the event Bluebell failed to provide or fund the loan, it would be required
                  8 to refund the Fees.
                  9        10.    Bluebell regularly failed to close on the loans and thereafter refund the
             10 Fees to its clients.
             11            11.    Upon information and belief, Bluebell engaged in fraud by collecting
             12 high commitment fees for loans it knew it could not fund.
             13            12.    Between August 2019 and September 2019, the Debtor made transfers
             14 to Bluebell of approximately $780,000 (the “Debtor Transfers”), which included a
             15 loan from the Debtor to Bluebell in the amount of $360,000 (which loan was never
             16 repaid) and commitment fee payments for loans Bluebell never ultimately made.
             17            13.    On August 31, 2023, Lee and Lim were indicted by the United States of
             18 America (the “Indictment”) in the United States District Court for the Southern
             19 District of Texas, Houston Division.
             20            14.    The Indictment alleges that Lee ran an “advance fee scheme” through
             21 Bluebell.
             22
             23                                     The Bluebell Judgment
             24            15.    On March 17, 2023, the Trustee commenced an action against Bluebell
             25 and Lee (Adv. Proc. No. 223-0023-GER) in the Bankruptcy Court for the avoidance
             26 and recovery of fraudulent transfers, breach of promissory note, unjust enrichment,
             27 and alter-ego.
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                  1        16.   On August 7, 2023, the Bankruptcy Court entered judgment in favor of
                  2 the Trustee and against Bluebell for $730,000, plus post-judgment interest (the
                  3 “Judgment”).
                  4
                  5                   The Subject Transfers to Newport Lamborghini
                  6        17.   On or about August 28, 2019, Newport Lamborghini received a transfer
                  7 from Bluebell in the amount of $273,485.53 (“2019 Transfer”) for the purchase of a
                  8 Lamborghini Urus (“Urus”).
                  9        18.   The sales contract related to the purchase of the Urus (“2019 Sale
             10 Contract”) lists the buyer as “Milestone Holdings Group, LLC” with an address of
             11 3024 E Chapman Avenue, #532, Orange, California 92869 (“Milestone”). A copy of
             12 the Retail Installment Contract is attached hereto as Exhibit A.
             13            19.   A letter dated August 29, 2019, from Geico General Insurance Company
             14 and the attached insurance identification cards, verifies the insured drivers of the
             15 Urus were Lee and Lim. A copy of the letter and insurance cards is attached hereto as
             16 Exhibit B.
             17            20.   The driver license provided for the 2019 Sale Contract is of Lim, and
             18 the insurance card is in the name of Lee and Lim. See Ex. A.
             19            21.   Subsequently, on or about January 6, 2020, Newport Lamborghini
             20 received a second transfer from Bluebell in the amount of $534,015.09 (the “Second
             21 Transfer”) for the purchase of a Lamborghini Aventador (“Aventador”).
             22            22.   The sales contract related to the purchase of the Aventador (“2020 Sale
             23 Contract”) also lists the buyer as Milestone. A copy of the Retail Installment
             24 Contract is attached hereto as Exhibit C.
             25            23.   The driver license provided for the 2020 Sale Contract is of Lim, and
             26 the insurance card is in the name of Lee and Lim. See Ex. C.
             27
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                  1        24.     Thereafter, on or about January 13, 2020, Newport Lamborghini
                  2 received a third transfer from Bluebell in the amount of $5,970.00 (the “Third
                  3 Transfer”).
                  4        25.     On or about October 14, 2020, Newport Lamborghini received a fourth
                  5 transfer from Bluebell in the amount of $3,060.18. The First Transfer, Second
                  6 Transfer, Third Transfer, and Fourth Transfer are, collectively, the “Transfers.”
                  7        26.     Attached as Exhibit D is a schedule identifying the Transfers. The
                  8 Trustee reserves the right to amend this schedule based on additional information
                  9 obtained during discovery in this lawsuit.
             10            27.     The Transfers were for the benefit of Bluebell’s insider, Lee and Lim.
             11            28.     Upon information and belief, Bluebell was insolvent or became
             12 insolvent shortly after the Transfers were made or the obligation was incurred.
             13            29.     Upon information and belief, the Transfers occurred shortly before or
             14 shortly after Bluebell incurred a substantial debt.
             15
             16                                  FIRST CLAIM FOR RELIEF
             17                  (For Avoidance and Recovery of Fraudulent Transfers under
             18 California Civil Code §§ 3439.04, 3439.07 and 3439.08 or other Applicable Law)
             19            30.     The Trustee repeats and re-alleges the allegations contained in
             20 paragraphs 1 through 29, inclusive, hereof and incorporates the same herein by this
             21 reference.
             22            31.     The Trustee is informed and believes, and based thereon alleges, that the
             23 Transfers were made with the actual intent to hinder, delay, or defraud one or more
             24 of Bluebell’s creditors.
             25            32.     The Trustee is entitled to avoid the Transfers pursuant to California
             26 Civil Code sections 3439.04(a)(1) and 3439.07, or other applicable law.
             27 Furthermore, under California Civil Code section 3439.08, the Trustee is entitled to
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                  1 recover from the Defendant the value of the Transfers, up to the amount of the
                  2 Judgment, plus interest thereon as allowed by law.
                  3
                  4                            SECOND CLAIM FOR RELIEF
                  5              (For Avoidance and Recovery of Fraudulent Transfers under
                  6 California Civil Code §§ 3439.05, 3439.07 and 3439.08 or other Applicable Law)
                  7        33.     The Trustee repeats and re-alleges the allegations contained in
                  8 paragraphs 1 through 32, inclusive, hereof and incorporates the same herein by this
                  9 reference.
             10            34.     The Trustee is informed and believes, and based thereon alleges, that
             11 Bluebell received less than reasonably equivalent value in exchange for the
             12 Transfers.
             13            35.     The Trustee is informed and believes, and based thereon alleges, that at
             14 the time the Transfers were made to or for the benefit of the Defendant, Bluebell was
             15 insolvent or became insolvent as a result of such Transfers.
             16            36.     The Trustee is entitled to avoid the Transfers pursuant to California
             17 Civil Code sections 3439.05 and 3439.07, or other applicable law. Furthermore,
             18 under California Civil Code section 3439.08, the Trustee is entitled to recover from
             19 the Defendant the value of the Transfers, up to the amount of the Judgment, plus
             20 interest thereon as allowed by law.
             21
             22                                 THIRD CLAIM FOR RELIEF
             23       (For Avoidance and Recovery of Fraudulent Transfers under California Civil
             24         Code §§ 3439.04(a)(2)(A), 3439.07, and 3439.08 or other Applicable Law)
             25            37.     The Trustee repeats and re-alleges the allegations contained in
             26 paragraphs 1 through 36, inclusive, hereof and incorporates the same herein by this
             27 reference.
             28
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                  1        38.   The Trustee is informed and believes, and based thereon alleges, that
                  2 Bluebell received less than reasonably equivalent value in exchange for the
                  3 Transfers.
                  4        39.   The Trustee is informed and believes, and based thereon alleges, that
                  5 when the Transfers were made, Bluebell was engaged in business or a transaction, or
                  6 was about to engage in business or a transaction, for which the property remaining
                  7 with Bluebell was unreasonably small in relation to the business or transaction.
                  8        40.   The Trustee is entitled to avoid the Transfers under California Civil
                  9 Code sections 3439.04(a)(2)(A) and 3439.07, or other applicable law. Furthermore,
             10 under California Civil Code section 3439.08, the Trustee is entitled to recover from
             11 the Defendant the value of the Transfers, up to the amount of the Judgment, plus
             12 interest thereon as allowed by law.
             13
             14                              FOURTH CLAIM FOR RELIEF
             15       (For Avoidance and Recovery of Fraudulent Transfers under California Civil
             16          Code §§ 3439.04(a)(2)(B), 3439.07, and 3439.08 or other Applicable Law)
             17            41.   The Trustee repeats and re-alleges the allegations contained in
             18 paragraphs 1 through 40, inclusive, hereof and incorporates the same herein by this
             19 reference.
             20            42.   The Trustee is informed and believes, and based thereon alleges, that
             21 Bluebell received less than reasonably equivalent value in exchange for the
             22 Transfers.
             23            43.   The Trustee is informed and believes, and based thereon alleges, that
             24 when the Transfers were made, Bluebell intended to incur, or believed or reasonably
             25 should have believed that she would incur, debts that would be beyond her ability to
             26 pay as such debts became due.
             27            44.   The Trustee is entitled to avoid the Transfers under California Civil
             28 Code section 3439.04(a)(2)(B), or other applicable law. Furthermore, under
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                  1 California Civil Code section 3439.08, the Trustee is entitled to recover from the
                  2 Defendant the property transferred to him or the value of the Transfers, up to the
                  3 amount of the Judgment, plus interest thereon as allowed by law.
                  4
                  5                             FIFTH CLAIM FOR RELIEF
                  6              (For Avoidance and Recovery of Fraudulent Transfers under
                  7                                California Common Law)
                  8        45.     The Trustee repeats and re-alleges the allegations contained in
                  9 paragraphs 1 through 44, inclusive, hereof and incorporates the same herein by this
             10 reference.
             11            46.     The Trustee is informed and believes, and based thereon alleges, that the
             12 Transfers were made with the actual intent to hinder, delay, or defraud one or more
             13 of Bluebell’s creditors.
             14            47.     The Trustee is entitled to avoid the Transfers pursuant to California
             15 common law. Furthermore, the Trustee is entitled to recover from the Defendant the
             16 value of the Transfers, up to the amount of the Judgment, plus interest thereon as
             17 allowed by law.
             18
             19                                 SIXTH CLAIM FOR RELIEF
             20                                 (To Avoid Unjust Enrichment)
             21            48.     The Trustee repeats and re-alleges the allegations contained in
             22 paragraphs 1 through 47, inclusive, hereof and incorporates the same herein by this
             23 reference.
             24            49.     The Trustee is informed and believes, and based thereon alleges, that as
             25 a result of the Transfers herein alleged, the Defendant has been unjustly enriched, so
             26 that the Trustee is entitled to recover from the Defendant the property transferred to
             27 them or the value of the Transfers, up to the amount of the Judgment, plus interest
             28 thereon as allowed by law.
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                  1                          SEVENTH CLAIM FOR RELIEF
                  2                            (To Impose Constructive Trust)
                  3        50.    The Trustee repeats and re-alleges the allegations contained in
                  4 paragraphs 1 through 49, inclusive, hereof and incorporates the same herein by this
                  5 reference.
                  6        51.    The Trustee is informed and believes, and based thereon alleges, that the
                  7 Transfers to the Defendant constitute identifiable and traceable property which was
                  8 fraudulently transferred to the Defendant so that the Trustee is entitled to, among
                  9 other things, a determination that the Defendant holds such property in trust for the
             10 benefit of the Trustee.
             11
             12                               EIGHTH CLAIM FOR RELIEF
             13                              (For Imposition of Equitable Lien)
             14            52.    The Trustee repeats and re-alleges the allegations contained in
             15 paragraphs 1 through 51, inclusive, hereof and incorporates the same herein by this
             16 reference.
             17            53.    Based upon the above-mentioned conduct, the Trustee is entitled to
             18 impress upon the property transferred, or the value thereof, with equitable liens to
             19 prevent unjust enrichment, to do justice in equity and to prevent unfair results.
             20
             21            WHEREFORE, Trustee prays for Judgment as follows:
             22
             23 FOR THE FIRST, SECOND, THIRD, FOURTH, FIFTH AND SIXTH
             24 CLAIMS FOR RELIEF:
             25            1.     That a judgment be entered in favor of the Trustee recovering the
             26 property transferred to the Defendant or the value of the Transfers, up to the amount
             27 of the Judgment;
             28
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                  1 FOR THE SEVENTH CLAIM FOR RELIEF:
                  2        2.     For a judgment imposing a constructive trust on the property received
                  3 by the Defendant from Bluebell or the proceeds thereof held by Defendant, up to the
                  4 amount of the Judgment, and determining that the Defendant holds said property in
                  5 trust for the Trustee;
                  6
                  7 FOR THE EIGHTH CLAIM FOR RELIEF:
                  8        3.     For a judgment imposing an equitable lien upon the property held by
                  9 Defendant or the proceeds thereof held by Defendant, up to the amount of the
             10 Judgment;
             11
             12 FOR ALL CLAIMS FOR RELIEF:
             13            4.     For interest on the sums recovered;
             14            5.     For costs of suit incurred herein; and
             15            6.     For all other and further relief as the Court deems just and proper.
             16
             17 DATED: January 4, 2024                    DANNING, GILL, ISRAEL &
                                                          KRASNOFF, LLP
             18
             19
             20                                           By:         /s/ Aaron E. de Leest
             21                                                 AARON E. DE LEEST
             22                                                 Attorneys for Plaintiff, Robert Thomas, the
                                                                Chapter 7 Trustee for the bankruptcy estate
             23                                                 of MJD Legacy Investments, Inc.
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